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14
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15 Company
16                     UNITED STATES DISTRICT COURT
17                  NORTHERN DISTRICT OF CALIFORNIA
18 IN RE: ROUNDUP PRODUCTS               MDL No. 2741
19 LIABILITY LITIGATION,                 Case No. 3:16-md-02741-VC
20
   Danielle Newman,                      MONSANTO COMPANY’S NOTICE OF
21 3:20-cv-08524-VC                      MOTION AND MOTION FOR
                                         SUMMARY JUDGMENT ON
22                                       CAUSATION GROUNDS
23                                       Hearing:
24                                       Date: May 23, 2024
                                         Time: 2:00 p.m.
25                                       Place: Courtroom 4 (Via Zoom)
26
27
28

                       MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on May 23, 2024 at 2:00 p.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rule of Civil Procedure 56(c), entering judgment in its
 8 favor and against Wave 7D Plaintiff Danielle Newman (“Plaintiff”), on the grounds
 9 that there is no genuine issue of material fact as to any claim for relief brought by
10 Plaintiff, and Monsanto is entitled to summary judgment.
11
12 Dated: April 5, 2024                    Respectfully submitted,
13
                                           /s/ Jed P. White
14                                                Jed P. White
15                                         Attorney for Defendant Monsanto Company

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                MONSANTO’S NOTICE OF MOTION & MOTION FOR SUMMARY JUDGMENT
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2            To prevail on any of her claims, Plaintiff Danielle Newman (“Plaintiffs”) must
 3 prove that Roundup was the proximate cause of her cancer. Whether Roundup—a
 4 chemical compound—is defective, can cause cancer generally, and whether it actually
 5 did cause Plaintiff’s cancer specifically, are specialized issues for which expert
 6 testimony is required. Plaintiff failed to disclose any expert reports regarding specific
 7 causation, which were due March 22, 2024. Without expert testimony to prove
 8 specific causation, none of Plaintiff’s claims may proceed.
 9                                            BACKGROUND
10            Plaintiff is a resident of Louisiana, and alleges that exposure to Monsanto’s
11 Roundup-branded herbicides (“Roundup”) caused Plaintiff to develop cancer.1 See
12 Complaint. ECF 1, ¶¶ 1-4, 13. Plaintiff seeks to hold Monsanto responsible for her
13 cancer, asserting seven causes of action. The lynchpin of Plaintiff’s complaint is that
14 glyphosate—the active-ingredient in Roundup—caused Plaintiff’s cancer. See id.
15            On August 30, 2023, this MDL Court required all Wave 7D plaintiffs, including
16 Plaintiff in this case, to submit expert reports no later than March 22, 2024. See Order
17 Granting Joint Request for Revised Schedule for Wave 6-7 Cases and Adding Wave
18 8 Schedule (“Scheduling Order”) (MDL ECF #17234). The expert discovery required
19 by this Order must be accompanied by written reports signed by the experts and must
20 contain “a complete statement of all opinions the witnesses will express and the basis
21 and reasons for them,” among other information. Fed. R. Civ. P. 26(a)(2)(B)(i).
22
     1
         For cases “filed in, or removed to, federal courts across the country and transferred to the MDL
23 court by the Judicial Panel on Multidistrict Litigation[,] . . . the MDL court must apply the law of
     the transferor forum, that is, the law of the state in which the action was filed, including the transferor
24 forum’s choice-of-law rules.” In re Vioxx Prods. Liab. Litig., 478 F. Supp. 2d 897, 903 (E.D. La.
25 2007). Here, Louisiana is the transferor forum. Under Louisiana law, if a conflict of law exists, “the
     law of the state with a greater interest in the case will usually apply to substantive issues.” Henry v.
26   Maxum Indemnity Co., No. 20-2995-JVM c/w 20-2997-WBV-JVM c/w 20-2998-WBV-JVM, 2022
     WL 815275, at *5 (E.D. La. Mar. 17, 2022). However, the Court does not need to decide whether
27   Louisiana or California law applies because under both of those states’ laws (cited herein), expert
     testimony is required to establish specific causation in this case.
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                               MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1          Plaintiff did not submit an expert report regarding specific causation by the
 2 March 22, 2024 deadline. Specifically, Plaintiff has not served any expert report
 3 containing case-specific evidence of a causal link between Roundup exposure and
 4 Plaintiff’s cancer. (Declaration of Jed White (“White Decl.”), ¶ 3.)
 5                        SUMMARY JUDGMENT STANDARD
 6          Summary judgment is appropriate when there is “no genuine dispute as to any
 7 material fact and the moving party is entitled to judgment as a matter of law.” Fed. R.
 8 Civ. P. 56(a). A fact is material when it could affect the outcome of the case, and a
 9 dispute about a material fact is genuine “if the evidence is such that a reasonable jury
10 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
11 U.S. 242, 248 (1986). The moving party bears the burden of “informing” the Court
12 that there exists the “absence of a genuine issue of material fact.” Celotex Corp. v.
13 Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met this burden, the
14 nonmoving party must come forward with evidence to show there is in fact a genuine
15 issue for trial. Id. at 323-24. A “complete failure of proof concerning an essential
16 element of the nonmoving party’s case” warrants summary judgment and “necessarily
17 renders all other facts immaterial.” Id. at 323.
18                                      ARGUMENT
19 I.       SUMMARY JUDGMENT IS REQUIRED BECAUSE PLAINTIFF
20          LACK THE REQUIRED ADMISSIBLE EXPERT TESTIMONY ON
21          CAUSATION.
22          Under California and Louisiana law, expert medical testimony is required to
23 establish causation of a specific physical injury if such cause is not within the common
24 knowledge of the jurors. Stephen v. Ford Motor Co., 134 Cal. App. 4th 1363, 1373
25 (2005) (in a product liability case “where the complexity of the causation issue is
26 beyond common experience, expert testimony is required to establish causation”);
27 Jenkins v. Arbors on Lake Apartments, 2021-01662 (La. 3/22/22), 334 So. 3d 746,
28 749 (“expert medical testimony is required when the conclusion regarding medical
                                               2
                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 causation is one that is not within common knowledge”); Collett v. Weyerhaeuser
 2 Co., 512 F. Supp. 3d 665, 671 (E.D. La. 2021) (“When the allegations in a lawsuit
 3 involve claims of injuries resulting from chemical exposure, expert medical testimony
 4 is required to prove causation”); see also Fitzgerald v. Manning, 679 F.2d 341, 350
 5 (4th Cir. 1982) (“expert testimony is usually necessary to support the conclusion as
 6 to causation” where the cause of the alleged injury is “determinable only in the light
 7 of scientific knowledge”).
 8         Here, Plaintiff alleges that she was diagnosed with cancer, which she claim was
 9 caused by her exposure to Roundup. See Compl. ¶¶ 1-13. “With cancer the question
10 of causation is especially troublesome[;] . . . it is frequently difficult to determine the
11 nature and cause of a particular cancerous growth.” Jones v. Ortho Pharm. Corp., 163
12 Cal. App. 3d 396, 403 (1985). As a result, “the unknown and mysterious etiology of
13 cancer is beyond the experience of laymen and can only be explained through expert
14 testimony.” Id. (citation and internal quotation marks omitted). Thus, the causal link
15 between Plaintiff’s injury and Roundup is a highly technical question of science that
16 is beyond the jurors’ understanding.
17         Plaintiff’s deadline to disclose expert reports was March 22, 2024. See
18 Scheduling Order. To date, Plaintiff has not disclosed a single expert witness or report
19 regarding specific causation. Plaintiff had ample time and opportunity to satisfy his
20 expert disclosure obligations under Rule 26(a)(2) and the Scheduling Order. And
21 honoring strict deadlines in an MDL is particularly important. See Allen v. Bayer
22 Corp. (In re: Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d 1217, 1222
23 (9th Cir. 2006) (affirming dismissal of cases in MDL for failure to comply with case
24 management orders because “multidistrict litigation is different because of the large
25 number of cases that must be coordinated, its greater complexity, and the court’s
26 statutory charge to promote the just and efficient conduct of the actions”).
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1         This Court has granted summary judgment in favor of Monsanto in similar
 2 cases where the plaintiff failed to disclose a specific causation expert, finding that
 3 expert testimony was required to prove causation:
 4
           Expert testimony also is required to establish causation for Matthaus-
 5         Shelton’s other product liability and tort claims. That’s because whether
 6         Roundup caused her multiple myeloma is a highly technical question that
           is not within the common knowledge and experience of an ordinary
 7         layperson.
 8 Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting
 9 Summary Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto
10 Company, 20-cv-7213, Doc. No. 23 (Order Granting Summary Judgment, dated
11 November 3, 2022) (“Whether Roundup caused [Plaintiff’s] multiple myeloma is a
12 highly technical and scientific question. Without expert testimony, a jury can only
13 speculate.”).
14         As a result of Plaintiff’s failure to disclose any expert on the issue of specific
15 causation, she cannot prove causation—an essential element of all her claims.
16 Without any evidence of case-specific causation, Monsanto is entitled to summary
17 judgment on all Plaintiff’s claims. See Stephen, 134 Cal. App. 4th at 1373-74
18 (plaintiff’s “inability to present expert testimony was fatal to her product liability and
19 negligence claims, and [thus] nonsuit was proper”); Jenkins, 334 So. 3d at 750
20 (because the plaintiff’s sole “medical expert . . . admitted she was unable to say that
21 it was more probable than not that plaintiff's injuries were caused by the fall[,] . . . we
22 conclude [the] defendants satisfied their burden of showing an absence of factual
23 support for an essential element of plaintiff's claim”); Howell v. BP Exploration &
24 Prod., Inc., No. 17-3287, 2023 WL 1778933, at *3 (E.D. La. Feb. 6, 2023) (granting
25 summary judgment where plaintiff failed to “point[] to any admissible expert opinions
26 on either general or specific causation” and therefore was “unable to sustain her
27 burden on causation”); Sterling v. United States, 834 F. App’x 83, 87 (5th Cir. 2020)
28 (upholding summary judgment where the plaintiff failed to designate expert
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 witnesses); Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 196-197 (4th Cir. 2001)
 2 (affirming dismissal of product liability claims where appellant “had no admissible
 3 medical evidence indicating that [defendant]’s device was the proximate cause of his
 4 injuries”); Jones v. Danek Med., Inc., No. Civ. A. 4:96-3323-12, 1999 WL 1133272,
 5 at *5 (D.S.C. Oct. 12, 1999) (“There being no expert testimony regarding causation,
 6 summary judgment is granted on the products liability allegations.”).
 7                                    CONCLUSION
 8        For the foregoing reasons, Monsanto is entitled to summary judgment on all of
 9 Plaintiff’s claims.
10
11 Dated: April 5, 2024                    Respectfully submitted,
12
                                           /s/ Jed P. White
13                                         Jed P. White
14                                         Attorney for Defendant Monsanto Company

15                            CERTIFICATE OF SERVICE
16        I hereby certify that on April 5, 2024, I electronically filed the foregoing with
17 the Clerk of the Court by using the CM/ECF system which will send a notice of
18 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
19                                         /s/ Jed P. White
                                           Jed P. White
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                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
